                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                    No. 5:17-CV-597

                                              )
3WISHES.COM, INC.,                            )
                                              )
                 Plaintiff,                   )    DEFENDANT’S ANSWER AND
                                              )    AFFIRMATIVE DEFENSES TO
        v.                                    )    PLAINTIFF’S COMPLAINT
                                              )
CONTEXTLOGIC INC., d/b/a “WISH”               )
and “WISH.COM,”                               )
                                              )
                 Defendant.                   )


         Defendant, ContextLogic Inc. (“ContextLogic”), for its answer to the Complaint filed by

Plaintiff, 3Wishes.com, Inc. (“Plaintiff”), and for its affirmative defenses, alleges and states as

follows:

                                  NATURE OF THIS ACTION

         1.    ContextLogic admits that Plaintiff has brought an action under the Lanham Act,

North Carolina statutory law and the common law. Unless specifically admitted, ContextLogic

denies the allegations of paragraph 1 of the Complaint.

                                             PARTIES

         2.      ContextLogic is without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 2 of the Complaint and therefore denies the

same.

         3.      ContextLogic admits that it is a Delaware corporation with its principal place of

business at One Sansome Street, 40th Floor, San Francisco, California. Unless specifically

admitted, ContextLogic denies the allegations contained in paragraph 3 of the Complaint.




              Case 5:17-cv-00597-FL Document 10 Filed 02/01/18 Page 1 of 8
                                  JURISDICTION & VENUE

        4.      ContextLogic admits that the court has subject matter jurisdiction over the claims

asserted in this action.    Unless specifically admitted, ContextLogic denies the allegations

contained in paragraph 4 of the Complaint.

        5.      ContextLogic admits that the court has personal jurisdiction over ContextLogic.

Unless specifically admitted, ContextLogic denies the allegations contained in paragraph 5 of the

Complaint.

        6.      ContextLogic admits that venue is proper in this district but denies that the

dispute would more appropriately be litigated and tried in this judicial district.         Unless

specifically admitted, ContextLogic denies the allegations contained in paragraph 6 of the

Complaint.

                                  FACTUAL BACKGROUND

        7.      ContextLogic is without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 7 of the Complaint and therefore denies the

same.

        8.      ContextLogic is without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 8 of the Complaint and therefore denies the

same.

        9.      ContextLogic admits that federal trademark registration No. 3,480,713 was issued

on August 5, 2007, but is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations contained in paragraph 9 of the Complaint and therefore denies

the same.




                                                2

             Case 5:17-cv-00597-FL Document 10 Filed 02/01/18 Page 2 of 8
        10.      ContextLogic is without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 10 of the Complaint and therefore denies the

same.

        11.      ContextLogic is without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 11 of the Complaint and therefore denies the

same.

        12.      ContextLogic is without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 12 of the Complaint and therefore denies the

same.

        13.      ContextLogic admits that it was incorporated in 2011. ContextLogic denies the

remaining allegations contained in paragraph 13 of the Complaint.

        14.      ContextLogic admits the allegations of paragraph 14 of the Complaint.

        15.      ContextLogic is without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 15 of the Complaint and therefore denies the

same.

        16.      ContextLogic admits that it is the owner of U.S. Reg. Nos. 4,311,924 and

4,340,974 for the mark WISH® used in connection with the goods and services identified in

those registrations. Unless specifically admitted, ContextLogic denies the allegations contained

in paragraph 16 of the Complaint.

        17.      ContextLogic denies the allegations of paragraph 17 of the Complaint.

        18.      ContextLogic denies the allegations of paragraph 18 of the Complaint.

        19.      ContextLogic denies the allegations of paragraph 19 of the Complaint.

        20.      ContextLogic denies the allegations of paragraph 20 of the Complaint.



                                                 3

              Case 5:17-cv-00597-FL Document 10 Filed 02/01/18 Page 3 of 8
       21.      ContextLogic admits that the parties have engaged in settlement communications,

and that the parties have not resolved the dispute raised by Plaintiff.      Unless specifically

admitted, ContextLogic denies the allegations contained in paragraph 21 of the Complaint.

                                  FIRST CAUSE OF ACTION
                               (Federal Trademark Infringement)

       22.      ContextLogic repleads and incorporates by reference its responses to the previous

paragraphs of the Complaint.

       23.      ContextLogic admits that the registration date of Reg. No. 3,480,713 predates use

by ContextLogic of a trademark incorporating the word “wish.” Unless specifically admitted,

ContextLogic denies the allegations contained in paragraph 23 of the Complaint.

       24.      ContextLogic denies the allegations of paragraph 24 of the Complaint.

       25.      ContextLogic denies the allegations of paragraph 25 of the Complaint.

       26.      ContextLogic denies the allegations of paragraph 26 of the Complaint.

                                SECOND CAUSE OF ACTION
                                 (Federal Unfair Competition)

       27.      ContextLogic repleads and incorporates by reference its responses to the previous

paragraphs of the Complaint.

       28.      ContextLogic denies the allegations of paragraph 28 of the Complaint.

       29.      ContextLogic denies the allegations of paragraph 29 of the Complaint.

       30.      ContextLogic denies the allegations of paragraph 30 of the Complaint.

                                THIRD CAUSE OF ACTION
                     (Deceptive Acts or Practices and Unfair Competition
                                 under North Carolina Law)

       31.      ContextLogic repleads and incorporates by reference its responses to the previous

paragraphs of the Complaint.



                                                4

             Case 5:17-cv-00597-FL Document 10 Filed 02/01/18 Page 4 of 8
       32.      ContextLogic denies the allegations of paragraph 32 of the Complaint.

       33.      ContextLogic denies the allegations of paragraph 33 of the Complaint.

       34.      ContextLogic denies the allegations of paragraph 34 of the Complaint.

       35.      ContextLogic denies the allegations of paragraph 35 of the Complaint.

       36.      ContextLogic denies the allegations of paragraph 36 of the Complaint.

                            FOURTH CAUSE OF ACTION
                    (Common Law Unfair Competition and Infringement)

       37.      ContextLogic repleads and incorporates by reference its responses to the previous

paragraphs of the Complaint.

       38.      ContextLogic denies the allegations of paragraph 38 of the Complaint.

       39.      ContextLogic denies the allegations of paragraph 39 of the Complaint.

                                 FIFTH CAUSE OF ACTION
                        (Cancellation of U.S. Trademark Registrations)

       40.      ContextLogic repleads and incorporates by reference its responses to the previous

paragraphs of the Complaint

       41.      ContextLogic admits that it owns U.S. Reg. No. 4,340,974, issued May 28, 2013,

for the mark WISH® for use in connection with the goods and services identified in the

registration, with a first use date as early as November 20, 2011. Unless specifically admitted,

ContextLogic denies the allegations of paragraph 41 of the Complaint.

       42.      ContextLogic admits that it owns U.S. Reg. No. 4,311,924, issued April 2, 2013,

for the mark WISH® for use in connection with the goods and services identified in the

registration, with a first use date as early as November 20, 2011. Unless specifically admitted,

ContextLogic denies the allegations of paragraph 42 of the Complaint.

       43.      ContextLogic admits the allegations of paragraph 43 of the Complaint.



                                                5

             Case 5:17-cv-00597-FL Document 10 Filed 02/01/18 Page 5 of 8
       44.      ContextLogic admits that the provisions of 15 U.S.C. § 1119 speak for

themselves. Unless specifically admitted, ContextLogic denies the allegations of paragraph 44

of the Complaint.

       45.      ContextLogic denies the allegations of paragraph 45 of the Complaint.

       46.      ContextLogic denies the allegations of paragraph 46 of the Complaint.

       47.      ContextLogic denies the allegations of paragraph 47 of the Complaint.

                                   AFFIRMATIVE DEFENSES

       Subject to the responses above, ContextLogic alleges and asserts the following defenses

in response to the allegations set forth in the Complaint, undertaking the burden of proof only as

to those defenses deemed affirmative defenses by law, regardless of how such defenses are

denominated herein. In addition to the defenses and affirmative defenses described below, and

subject to its responses above, ContextLogic specifically reserves the right to allege additional

affirmative defenses that become known through the course of litigation.

       1.       The Complaint fails to state a claim for which relief can be granted.

       2.       Plaintiff is engaging in misuse of its 3WISHES.COM trademark by asserting that

trademark against ContextLogic and seeking the expansive relief it seeks through its lawsuit.

       3.       To the extent Plaintiff has suffered any damages, such damages were not caused

by ContextLogic.

       4.       To the extent Plaintiff has suffered any damages, such damages are barred or

limited by Plaintiff’s failure to timely mitigate.

       5.       The equitable doctrine of laches bars some or all of Plaintiff’s claims and claim for

damages and other relief.

       6.       The equitable doctrine of estoppel bars some or all of Plaintiff’s claims and for

damages and other relief.

                                                     6

             Case 5:17-cv-00597-FL Document 10 Filed 02/01/18 Page 6 of 8
                                   PRAYER FOR RELIEF

      ContextLogic respectfully requests that the Court:

       1. Enter judgment in favor of ContextLogic and dismiss Plaintiff’s claims with prejudice;

       2. Award ContextLogic its attorneys’ fees and costs; and

       3. Award such other relief as is just and proper.



Dated: February 1, 2018                      /s/ Richard T. Matthews
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                                                7

         Case 5:17-cv-00597-FL Document 10 Filed 02/01/18 Page 7 of 8
                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 1, 2018, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

to the following: William M. Bryner at wbryner@kilpatricktownsend.com and James W. Faris

at jfaris@kilpatricktownsend.com, Attorneys for Plaintiff. Courtesy copies have been served to

counsel of record for Plaintiff at the addresses listed below.


                                                      /s/ Robert Van Arnam_____________
                                                      Williams Mullen




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                                                  8

           Case 5:17-cv-00597-FL Document 10 Filed 02/01/18 Page 8 of 8
